TREG R. TAYLOR
ATTORNEY GENERAL

Margaret Paton-Walsh (Alaska Bar No. 0411074)
Chief Assistant Attorney General
Aaron C. Peterson (Alaska Bar No. 1011087)
Senior Assistant Attorney General
Department of Law
1031 West Fourth Avenue, Suite 200
Anchorage, AK 99501
Telephone: (907) 269-5232
Facsimile: (907) 276-3697
margaret.paton-walsh@alaska.gov
aaron.peterson@alaska.gov

Counsel for Defendants


                  IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF ALASKA

UNITED STATES OF AMERICA,                  )
                                           )
            Plaintiff,                     )
                                           )
KUSKOKWIM RIVER INTER-TRIBAL               )         Case No.: 1:22-cv-54 (SLG)
FISH COMMISSION, et al.,                   )
                                           )
            Intervenor Plaintiffs,         )
                                           )
v.                                         )
                                           )
STATE OF ALASKA, et al.,                   )
                                           )
            Defendants.                    )

                    JOINT STIPULATION OF DISMISSAL OF
                   STATE DEFENDANTS’ COUNTERCLAIMS

      Pursuant to Federal Rules of Civil Procedure 41(a)(1)(A)(ii) and 41(c), Defendants

State of Alaska, Alaska Department of Fish & Game, and Doug Vincent-Lang in his




        Case 1:22-cv-00054-SLG Document 64 Filed 04/05/23 Page 1 of 3
official capacity as Commissioner of the Alaska Department of Fish & Game, with Plaintiff

United States of America, jointly stipulate that Defendants’ counterclaims against Plaintiff

United States of America are hereby DISMISSED with prejudice. The dismissal of the

counterclaims with prejudice is limited to the specific events that occurred in 2021 and

2022 as described in the Complaint. See Dkt. 1. The parties agree that this stipulated

dismissal with prejudice does not prevent the State from asserting issues of law raised in

the counterclaims relating to a future event(s), including whether ANILCA authorizes the

United States to open fisheries or other lands. The parties further agree that this stipulation

will have no preclusive effect on the claims and issues being litigated in ADF&G v. FSB,

3:20-cv-195-SLG (D. Alaska).

DATED: April 5, 2023                             Respectfully Submitted,

TODD KIM                                         TREG R. TAYLOR
Assistant Attorney General                       ATTORNEY GENERAL
United States Department of Justice
Environment and Natural Res. Division            By: /s/ Margaret Paton-Walsh
                                                     Margaret Paton-Walsh
By: /s/ Paul A. Turcke                               (Alaska Bar No. 0411074)
    PAUL A. TURCKE, ID Bar No. 4759                  Chief Assistant Attorney General
    Trial Attorney, Natural Res. Section
    1290 West Myrtle Street, Suite 500                /s/ Aaron C. Peterson
    Boise, ID 83702                                  Aaron C. Peterson
    202-532-5994 || 202-305-0275 (fax)               (Alaska Bar No. 1011087)
    paul.turcke@usdoj.gov                            Senior Assistant Attorney General
     Of Counsel:                                     Department of Law
     KENNETH M. LORD                                 1031 West Fourth Avenue, Suite 200
     Office of the Regional Solicitor                Anchorage, AK 99501
     U.S. Department of the Interior                 Telephone: (907) 269-5232
     4230 University Drive, Suite 300                Facsimile: (907) 276-3697
     Anchorage, AK 99508                             margaret.paton-walsh@alaska.gov
     907-271-4184                                    aaron.peterson@alaska.gov
     ken.lord@sol.doi.gov
     Counsel for Plaintiff                           Counsel for Defendants

       United States v. Alaska                              Case No. 1:22-cv-00054-SLG
       Joint Stipulation of State Defendants’ Counterclaims                  Page 2 of 3
         Case 1:22-cv-00054-SLG Document 64 Filed 04/05/23 Page 2 of 3
                            CERTIFICATE OF SERVICE
      I certify that on April 5, 2023, I electronically filed the foregoing document with

the Clerk of the Court using the CM/ECF system, serving all counsel of record.

                                                   /s/ Margaret Paton-Walsh
                                                   Margaret Paton-Walsh




      United States v. Alaska                              Case No. 1:22-cv-00054-SLG
      Joint Stipulation of State Defendants’ Counterclaims                  Page 3 of 3
        Case 1:22-cv-00054-SLG Document 64 Filed 04/05/23 Page 3 of 3
